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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (MFW)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1
                                                               Objections Due: September 21, 2020 at 4:00 p.m. ET
                                    Debtors.                   Hearing Date: TBD if objection filed



      NOTICE OF THIRTEENTH MONTHLY APPLICATION OF SILLS CUMMIS &
    GROSS P.C. FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
     AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
            COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
                    FROM JULY 1, 2020 THROUGH JULY 31, 2020

         PLEASE TAKE NOTICE THAT on September 1, 2020, Sills Cummis & Gross P.C.

(“Sills”), as counsel to the Official Committee of Unsecured Creditors (the “Committee”) of the

above-captioned debtors and debtors-in-possession (the “Debtors”), filed the Thirteenth Monthly

Fee Application of Sills Cummis & Gross P.C. for Allowance of Compensation for Services

Rendered and for Reimbursement of Expenses as Counsel to the Official Committee of Unsecured

Creditors for the Period July 1, 2020 through July 31, 2020 (the “Application”).

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Court’s Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals, entered

August 2, 2019 [D.I. 341] (the “Interim Compensation Order”), objections, if any, to the




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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Application must be filed with the Clerk of the United States Bankruptcy Court for the District of

Delaware, 824 North Market Street, Wilmington, DE 19801, and be served so as to be received by

the following parties by no later than September 21, 2020 at 4:00 p.m. (prevailing Eastern time),

(the “Objection Deadline”): (a) the Debtors, Center City Healthcare, LLC, 230 North Broad Street,

Philadelphia, PA 19102 (Attn: Allen Wilen, CRO); (b) Counsel to the Debtors, Saul Ewing

Arnstein & Lehr LLP, 1201 North Market Street, Suite 2300, Wilmington, DE 19801 (Attn: Mark

Minuti, Esq. and Monique B. DiSabatino, Esq.) and 1500 Market Street, 38th Floor, Philadelphia,

PA 19102 (Attn: Jeffrey Hampton, Esq. and Adam H. Isenberg, Esq.); (c) Counsel to the

Committee, Sills Cummis & Gross P.C., The Legal Center, One Riverfront Plaza, Newark, NJ

07102 (Attn: Andrew H. Sherman, Esq. and Boris I. Mankovertskiy, Esq.) and Fox Rothschild

LLP, 919 N. Market Street, Suite 300, Wilmington, DE 19899-2323 (Attn: Thomas M. Horan);

(d) the Office of the United States Trustee, District of Delaware, 844 N. King Street, Suite 2207,

Lockbox 35, Wilmington, DE 19801 (Attn: Benjamin A. Hackman, Esq.); and (e) Counsel to the

DIP Agent, Stradley, Ronon, Stevens, & Young, LLP, 2005 Market Street, Suite 2600,

Philadelphia, PA 19103 (Attn: Gretchen M. Santamour, Esq.) and 1000 N. West Street, Suite 1279,

Wilmington, DE 19801 (Attn: Joelle E. Polesky, Esq.).

       PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Interim Compensation

Order, upon expiration of the Objection Deadline, if a Notice of Objection has not been served

with respect to the Application, Sills may file a certificate of no objection (a “CNO”) with the

Court with respect to the unopposed portion of the fees and expenses requested in its Monthly

Fee Application. After a CNO is filed, the Debtors are authorized and directed to pay Sills an

amount the “Actual Monthly Payment”) equal to 80 percent of the fees and 100 percent of the

expenses requested in the applicable Monthly Fee Application (the “Maximum Monthly



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Payment”). If a Notice of Objection was timely filed and received and remains unresolved, the

Debtors are authorized and directed to pay Sills an amount (the “Reduced Monthly Payment”)

equal or lessor of (i) the Maximum Monthly Payment and (ii) 80% of fees and 100% of the

expenses not subject to a Notice of Objection.



  Dated: September 1, 2020                       FOX ROTHSCHILD LLP

                                                 /s/ Seth A. Niederman
                                                 Seth A. Niederman (DE No. 4588)
                                                 919 North Market Street, Suite 300
                                                 Wilmington, DE 19899-2323
                                                 Telephone: (302) 654-7444
                                                 Facsimile: (302) 656-8920
                                                 E-mail: sniederman@foxrothschild.com

                                                 Counsel to the Official Committee of
                                                 Unsecured Creditors




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                                Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL et al.,1
                                                                  (Jointly Administered)
                          Debtors.
                                                                  Objections Due: September 21, 2020 at 4:00 p.m.
                                                                  Hearing Date: TBD if objection filed




     THIRTEENTH MONTHLY APPLICATION OF SILLS CUMMIS & GROSS P.C.
       FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
          AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO
       THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE
             PERIOD FROM JULY 1, 2020 THROUGH JULY 31, 2020

Name of Applicant:                                           Sills Cummis & Gross P.C.

Authorized to provide professional services to:              Official Committee of Unsecured Creditors

Date of Retention:                                           September 5, 2019 nunc pro tunc to July 15, 2019
Period for which compensation
and reimbursement are sought:                                July 1, 2020 – July 31, 2020
Amount of compensation sought as actual,
reasonable, and necessary:                                   $173,342.00 (80% of $216,677.50)
Amount of expense reimbursement sought
as actual, reasonable, and necessary:                        $3,458.44

This is a monthly application.




1
 The Debtors in these cases are: Center City Healthcare, LLC, Philadelphia Academic Health System, LLC, St.
Christopher’s Healthcare, LLC, Philadelphia Academic Medical Associates, LLC, HPS of PA, L.L.C., SCHC
Pediatric Associates, L.L.C., St. Christopher’s Pediatric Urgent Care Center, L.L.C., SCHC Pediatric Anesthesia
Associates, L.L.C., StChris Care at Northeast Pediatrics, L.L.C., TPS of PA, L.L.C., TPS II of PA, L.L.C., TPS III
of PA, L.L.C., TPS IV of PA, L.L.C., and TPS V of PA, L.L.C.


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                                 COMPENSATION BY PROFESSIONAL

    Name of Professional               Position, primary                  Hourly          Total          Total
        Individual                   department or group,                 Billing         Hours       Compensation
                                       year of obtaining                  Rate1           Billed
                                       relevant license to
                                     practice, if applicable
    Andrew Sherman                Member, Bankruptcy                        $825            1.2            $990.00
                                  First Bar Admission: 1991
    Boris Mankovetskiy            Member, Bankruptcy                        $750            19.0         $14,250.00
                                  First Bar Admission: 2001
                                  Member, Corporate First
    Brian Coven                                                             $750            56.9         $42,675.00
                                  Bar Admission: 1982
                                  Member, Real Estate
    Clint Kakstys                                                           $650           128.7         $83,655.00
                                  First Bar Admission: 2004
                                  Member, Litigation
    Charles J. Falletta                                                     $575            13.4          $7,705.00
                                  First Bar Admission: 1996
                                  Of Counsel, Real Estate
    David G. Cherna                                                         $595            30.5         $18,147.50
                                  First Bar Admission: 1983
                                  Associate, Bankruptcy
    Rachel E. Brennan                                                       $595            40.3         $23,978.50
                                  First Bar Admission: 2012
    Gregory A. Kopacz             Associate, Bankruptcy                     $550            0.9            $495.00
                                  First Bar Admission: 2010
    Matthew P. Canini             Associate, Litigation                     $425            26.3         $11,177.50
                                  First Bar Admission: 2012
    Frank Gonzalez                Paralegal, Litigation                     $225            81.9         $18,427.50
                                  First Bar Admission: N/A
    Total Fees at                                                                          399.1        $221,501.00
    Standard Rates
    Total Fees at $625                                                                     399.1        $216,677.50
    Blended Rate2


1
  Effective October 1, 2019, the standard hourly rates of certain Sills attorneys were increased to reflect the
experience and seniority of such attorneys, as well as economic and other conditions. For instance, the hourly rate
of Andrew Sherman was increased from $795 to $825; the hourly rate of Boris Mankovetskiy was increased from
$725 to $750; the hourly rate of Rachel Brennan was increased from $545 to $595; and the hourly rate of Gregory
Kopacz was increased from $525 to $550. However, as discussed below, Sills’ fees for this engagement are subject
to a $625 blended hourly rate cap.
2
  As noted in the Application to Retain and Employ Sills Cummis & Gross P.C. as Attorneys for the Official
Committee of Unsecured Creditors of Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al.,
Nunc Pro Tunc to July 15, 2019 [D.I, 636] (the “Retention Application”), “Sills fees (not including expenses) will
be limited to the lesser of (i) the amount of Sills’ fees at its professionals’ standard rates . . . and (ii) the amount of
Sills’ fees at a blended hourly rate of $625.” See Retention Application ¶ 16.


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                             COMPENSATION BY PROJECT CATEGORY

                           Project Category                                      Total Hours             Total Fees
    Asset Analysis and Recovery (101)                                                     392.1            $216,870.00
    Business Operations (103)                                                                 0.9                $675.00
    Case Administration (104)                                                                 2.1             $1,043.50
    Claims Administration and Objections (105)                                                3.3             $2,527.50
    Fee/Employment Applications (107)                                                         0.4                $220.00
    Fee/Employment Objections (108)                                                           0.2                $110.00
    Plan and Disclosure Statement (113)                                                       0.1                 $55.00
    Total Fees at Standard Rate                                                           399.1            $221,501.00

    Total Fees at $625 Blended Rate3                                                      399.1            $216,677.50



                                              EXPENSE SUMMARY

                                 Expense Category                               Total Expenses
                    Litigation Support Vendors (UnitedLex)                          $3,458.44
                                        TOTAL                                       $3,458.44




3
 As noted in the Retention Application, “Sills fees (not including expenses) will be limited to the lesser of (i) the
amount of Sills’ fees at its professionals’ standard rates . . . and (ii) the amount of Sills’ fees at a blended hourly rate
of $625.” See Retention Application ¶ 16.

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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11

CENTER CITY HEALTHCARE, LLC, d/b/a                       Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL et al.,
                                                         (Jointly Administered)
                        Debtors.
                                                         Objections Due: September 21, 2020 at 4:00 p.m.
                                                         Hearing Date: TBD if objection filed




          THIRTEENTH APPLICATION OF SILLS CUMMIS & GROSS P.C. FOR
            ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
             AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO
          THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE
                PERIOD FROM JULY 1, 2020 THROUGH JULY 31, 2020

          Pursuant to sections 330 and 331 of the Bankruptcy Code, rule 2016 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 2016-2 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), and the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses for Professionals [D.I. 341] (the “Compensation Order”), Sills

Cummis & Gross P.C. (“Sills”) files this Thirteenth Application for Allowance of Compensation

for Services Rendered and for Reimbursement of Expenses as Counsel to the Official Committee

of Unsecured Creditors for the Period From July 1, 2020 Through July 31, 2020 (the

“Application”). By the Application, Sills seeks allowance of $173,342.00 (80% of $216,677.50)

in fees for services rendered, plus $3,458.44 for reimbursement of actual and necessary expenses

for the period from July 1, 2020 through July 31, 2020 (the “Compensation Period”), for a total

of $176,800.44.

                                            Background

          1.     On June 30 and July 1, 2019, each of the Debtors filed a voluntary petition for


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relief under chapter 11 of the Bankruptcy Code.

          2.    On July 15, 2019, the United States Trustee appointed the Official Committee of

Unsecured Creditors (the “Committee”) [D.I. 182].

          3.    Sills was retained as Committee counsel pursuant to this Court’s Amended Order

Authorizing the Employment and Retention of Sills Cummis & Gross P.C. as Attorneys for

Official Committee of Unsecured Creditors of Center City Healthcare, LLC d/b/a Hahnemann

University Hospital, et al. Nunc Pro Tunc to July 15, 2019 [D.I. 650].

                               Compensation Paid and Its Source

          4.    All services for which compensation is requested were performed for or on behalf

of the Committee. During the Compensation Period, Sills received no payment and no promises

for payment from any source other than the Debtors for services to be rendered in any capacity in

connection with the matters covered by this Application. There is no agreement or

understanding between Sills and any other person, other than with the members, of counsel and

associates of the firm, for the sharing of compensation to be received in these cases.

                                         Fee Statements

          5.    The fee statement for the Compensation Period is attached as Exhibit A. To the

best of Sills’ knowledge, this Application reasonably complies with sections 330 and 331 of the

Bankruptcy Code, the Bankruptcy Rules, the Region 3 Operating Guidelines and Reporting

Requirements for Chapter 11 Debtors and Trustees, the Guidelines for Reviewing Applications

for Compensation and Reimbursement for Expenses Filed Under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases Effective November 1, 2013, Local Rule 2016-2, applicable Third

Circuit law, and the Compensation Order.

                                Actual and Necessary Expenses

          6.    Detailed information regarding Sills’ expenses during the Compensation Period is

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included in Exhibit A.

                                    Summary of Services by Project

          7.     The services Sills rendered during the Compensation Period are generally

described below, with a more detailed identification of the actual services provided in Exhibit A.

          A.     Asset Analysis and Recovery

                 Fees: $216,870.00;      Total Hours: 392.1

          This category includes time spent investigating causes of action against certain non-

debtor affiliates and other parties, including time spent: (a) conducting research and analysis

regarding potential claims and causes of action, including fraud, breach of fiduciary duty and

alter ego claims; (b) drafting a related memorandum; (c) propounding discovery requests and

addressing related issues, including drafting a related stipulation with the Debtors; (d) reviewing

documents produced in response to discovery requests and addressing privilege issues; and (e)

communicating with Debtors’ counsel and the Committee’s other advisors regarding the

foregoing and related issues.

          B.     Business Operations

                 Fees: $675.00;          Total Hours: 0.9

          This category includes time spent analyzing issues regarding intercompany transfers.

          C.     Case Administration

                 Fees: $1,043.50;        Total Hours: 2.1

          This category includes time spent: (a) communicating with the Committee’s other

advisors regarding pending matters, (b) attending Committee meetings, and (c) updating the

“critical dates” calendar.

          D.     Claims Administration and Objection

                 Fees: $2,527.50;        Total Hours: 3.3

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          This category includes time spent analyzing claims asserted against the Debtors’ estates

and potential objections, challenges and counterclaims thereto, including time spent (a)

analyzing potential objections and counterclaims to certain landlord claims, (b) analyzing a

proposed stipulation regarding certain proofs of claims, and (c) communicating with Debtors’

counsel and the Committee’s other advisors regarding the foregoing and other issues.

          E.     Fee/Employment Applications

                 Fees: $220.00;         Total Hours: 0.4

          This category includes time spent addressing issues related to Sills’ fee applications.

          F.     Fee/Employment Objections

                 Fees: $110.00;         Total Hours: 0.2

          This category includes time spent reviewing the Debtors’ professionals fee applications.

          G.     Plan and Disclosure Statement

                 Fees: $55.00;          Total Hours: 0.1

          This category includes time spent analyzing the Debtors’ motion to extend its exclusivity

periods.

                                              Conclusion

          8.     Sills submits that the amounts sought are fair and reasonable given (a) the

complexity of these cases, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under this title.

          WHEREFORE, Sills requests that an allowance be made to Sills for the sums of

$173,342.00 (80% of $216,677.50) as compensation, plus and $3,458.44 for reimbursement of

actual and necessary expenses, for a total of $176,800.44, and that such amounts be authorized

for payment.

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Dated: September 1, 2020           Respectfully submitted,
Wilmington, Delaware
                                   /s/ Seth A. Niederman
                                   Seth A. Niederman (DE Bar No. 4588)
                                   FOX ROTHSCHILD LLP
                                   919 North Market Street, Suite 300
                                   Wilmington, DE 19899
                                   Telephone: 302-654-7444
                                   Facsimile: 302-656-8920
                                   Email: sniederman@foxrothschild.com

                                   - and -

                                   Andrew H. Sherman (pro hac vice)
                                   Boris I. Mankovetskiy (pro hac vice)
                                   SILLS CUMMIS & GROSS P.C.
                                   One Riverfront Plaza
                                   Newark, NJ 07102
                                   Telephone: 973-643-7000
                                   Facsimile: 973-643-6500
                                   Email: asherman@sillscummis.com
                                           bmankovetskiy@sillscummis.com

                                   Counsel for the Official Committee
                                   of Unsecured Creditors




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                                        VERIFICATION

STATE OF NEW JERSEY                   )
                                      ) SS:
COUNTY OF MORRIS                      )

               Andrew H. Sherman, after being duly sworn according to law, deposes and says:

               a)      I am an attorney at law and a Member of the law firm of Sills Cummis &

Gross P.C., located at One Riverfront Plaza, Newark, New Jersey 07102.

               b)      I am familiar with the work performed on behalf of the Committee by the

lawyers in the firm.

               c)      I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief.

               d)      I have reviewed Local Rule 2016-2, and believe the Application

substantially complies therewith.

                                                     /s/ Andrew H. Sherman
                                                     Andrew H. Sherman




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                      Exhibit A
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                                 S ILLS C UMMIS & G ROSS
                                           A PROFESSIONAL CORPORATION

                                         THE LEGAL CENTER
                                       ONE RIVERFRONT PLAZA
                                     NEWARK, NEW JERSEY 07102-5400
                                             (973) 643-7000


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                                                                                       Inv#           1781633
                                                                                       Date           08/21/20
                                                                                       08650118.000001 - AHS

Official Committee of Unsecured Creditors of Center City
Healthcare LLC d/b/a Hahnemann University Hospital
c/o Tom Arnst, Committee Chair
Conifer Health Solutions
3560 Dallas Parkway
Frisco, TX 75034
                                                                                         FEI#22 - 1920331
RE: Creditors' Committee


For legal services rendered:

DATE       ATTY       DESCRIPTION                                             HOURS                  AMOUNT

101 - ASSET ANALYSIS AND RECOVERY
07/16/20 AHS      Call with Debtors' counsel re: investigation                  0.50                   412.50
                  issues and follow up with BRG re: same.
07/01/20 BM       Analysis regarding supplemental discovery                     1.20                   900.00
                  requests to Debtors in connection with
                  Committee's investigation of potential claims.
07/02/20 BM       Attend to issues regarding investigation of                   1.10                   825.00
                  potential estate-based causes of action.
                  Attend to supplemental document requests to                   0.90                   675.00
                  Debtors in connection with Committee's
                  investigation of potential claims.
07/06/20 BM       Attend to issues regarding review and analysis                0.80                   600.00
                  of MBNF's document productions.
                  Analysis regarding potential causes of action                 1.10                   825.00
                  against D&Os and other third parties.
07/07/20 BM       Analysis of issues regarding potential                        0.90                   675.00
                  intercompany claims arising from real estate
                  leases.
07/10/20 BM       Attend to discovery issues in connection with                 0.80                   600.00
                  Committee's investigation of potential estate-
                  based causes of action.
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                                           (973) 643-7000


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                                                                                      Date           08/21/20
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DATE       ATTY      DESCRIPTION                                             HOURS                  AMOUNT

07/13/20   BM        Attend to issues regarding investigation of               1.30                   975.00
                     potential causes of action against MBNF-
                     related entities.
07/14/20   BM        Attend to issues regarding Committee's                    1.30                   975.00
                     investigation of potential estate-based claims.
07/16/20   BM        Attend to issues regarding review of MBNF-                1.10                   825.00
                     related parties document productions and
                     privilege issues.
07/20/20   BM        Attend to issues regarding investigation of               1.10                   825.00
                     potential causes of action against former
                     insiders.
                     Attend to issues regarding deficiencies in                0.70                   525.00
                     discovery productions from MBNF.
07/21/20   BM        Attend to proposed revised stipulation                    0.80                   600.00
                     governing Debtors' productions of documents
                     in response to Committee's discovery requests.
07/28/20   BM        Attend to issues regarding MBNF's document                0.80                   600.00
                     productions in response to Committee's
                     discovery requests.
07/30/20   BM        Attend to issues regarding investigation of               1.20                   900.00
                     potential estate-based causes of action.
07/02/20   BSC       D&O claims investigation research.                        3.60                 2,700.00
07/06/20   BSC       Claims investigation document review.                     4.30                 3,225.00
                     Analyze potential fraud claims relating to opco           2.60                 1,950.00
                     structuring.
07/07/20   BSC       Document review and evaluation relating to                3.40                 2,550.00
                     possible alter ego claims.
07/08/20   BSC       Review and evaluate potential improper                    2.80                 2,100.00
                     conduct claims regarding financial structure.
                     Claims investigation document review.                     3.90                 2,925.00
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                               S ILLS C UMMIS & G ROSS
                                         A PROFESSIONAL CORPORATION

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                                           (973) 643-7000


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DATE       ATTY      DESCRIPTION                                            HOURS                  AMOUNT

07/09/20   BSC       Document review and research regarding                   3.10                 2,325.00
                     claims based on financial structuring.
07/10/20   BSC       Review discovery documents.                              2.30                 1,725.00
07/13/20   BSC       Claims investigation document review.                    2.90                 2,175.00
07/17/20   BSC       Claims investigation review.                             2.80                 2,100.00
07/20/20   BSC       Review potential causes of action.                       1.60                 1,200.00
07/27/20   BSC       Claims investigation document review.                    2.40                 1,800.00
07/28/20   BSC       Claims investigation document review.                    4.20                 3,150.00
07/29/20   BSC       Review of financial information.                         3.20                 2,400.00
07/30/20   BSC       Review discovery documents.                              4.10                 3,075.00
                     Examine possible capitalization deficiencies.            2.60                 1,950.00
07/31/20   BSC       Research relating to manager’s duty of care.             3.40                 2,550.00
                     Claims investigation document review relating            3.70                 2,775.00
                     to possible management malfeasance.
07/01/20   CJF       Telephone conference with M. Minuti                      0.60                   345.00
                     regarding collection and review of American
                     Academic email.
                     Prepare summary of telephone conference                  0.20                   115.00
                     with M. Minuti concerning American
                     Academic email collection and production.
07/02/20   CJF       Analyze issues regarding second level                    0.10                    57.50
                     document review.
07/03/20   CJF       Analyze issues regarding technical issue with            0.10                    57.50
                     review batches.
07/06/20   CJF       Analyze issues regarding second level review             1.10                   632.50
                     of hot documents and American Academic
                     emails.
                     Prepare quality control saved searches                   0.80                   460.00
                     regarding review team results and analyze
                     issues regarding same.
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                                S ILLS C UMMIS & G ROSS
                                          A PROFESSIONAL CORPORATION

                                       THE LEGAL CENTER
                                     ONE RIVERFRONT PLAZA
                                   NEWARK, NEW JERSEY 07102-5400
                                           (973) 643-7000


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DATE       ATTY      DESCRIPTION                                             HOURS                  AMOUNT

                     Prepare e-mail to and review e-mail from                  0.20                   115.00
                     UnitedLex regarding new search terms from
                     American Academic and search of same.
                     Prepare e-mail to and review e-mail from                  0.20                   115.00
                     UnitedLex regarding technical issue with
                     document batches.
                     Review status of document review and revise               0.60                   345.00
                     spreadsheet regarding same.
07/07/20   CJF       Analyze issues regarding updated search term              0.30                   172.50
                     hit reports and review of additional
                     documents.
                     Prepare e-mails to and review e-mails from D.             0.30                   172.50
                     Peters, UnitedLex, regarding revisions to
                     search of new search terms, updated hit report,
                     and search of non-batched documents.
                     Analyze issues regarding review team                      0.40                   230.00
                     questions concerning review protocol.
                     Analyze issues regarding review of hot                    0.60                   345.00
                     documents, new search terms, and review of
                     same.
07/08/20   CJF       Prepare e-mail to UnitedLex regarding QC                  0.20                   115.00
                     review panel for second level review of
                     documents.
                     Analyze issues regarding search term hit                  0.20                   115.00
                     reports and additional documents for review.
                     Prepare e-mail to D. Peters, UnitedLex,                   0.10                    57.50
                     regarding batching for review additional
                     documents hitting on new search terms.
07/11/20   CJF       Review emails and letter from H. Liberman,                0.20                   115.00
                     regarding production PAHH-12.
                     Attend to download of PAHH-12 production                  0.40                   230.00
                     and prepare same.
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DATE       ATTY      DESCRIPTION                                            HOURS                  AMOUNT

07/13/20   CJF       Prepare e-mail to and review e-mail from D.              0.20                   115.00
                     Peters, UnitedLex, regarding loading
                     production PAHH-012 into Relativity.
                     Review status of document review and analyze             0.40                   230.00
                     issues regarding same.
07/14/20   CJF       Exchange e-mails with D. Peters of                       0.20                   115.00
                     UnitedLex, and H. Liberman, counsel for
                     MBNF Non-Debtor Entities, regarding
                     password issues with production 12.
07/15/20   CJF       Exchange e-mails with D. Peters, UnitedLex,              0.30                   172.50
                     regarding PAHH-12 production and attend to
                     same.
07/16/20   CJF       Analyze issues regarding status of document              0.20                   115.00
                     review.
07/17/20   CJF       Analyze issues regarding production PAHH-                0.20                   115.00
                     12 and review strategy concerning same.
                     Review team meeting regarding status of                  0.70                   402.50
                     review.
                     Prepare e-mail to D. Peters, UnitedLex,                  0.20                   115.00
                     regarding setting up review batches for
                     additional documents.
07/20/20   CJF       Review status of document review and prepare             0.60                   345.00
                     summary regarding same.
                     Review email from Mr. Minuti regarding                   0.10                    57.50
                     stipulation governing production from the
                     Debtors to the Committee.
07/23/20   CJF       Analyze issues regarding potential property              0.10                    57.50
                     tax refunds claim.
07/28/20   CJF       Prepare e-mail to D. Peters, UnitedLex,                  0.20                   115.00
                     regarding documents withheld for privilege
                     and strategy concerning same.
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DATE       ATTY      DESCRIPTION                                             HOURS                  AMOUNT

07/29/20   CJF       Prepare e-mail to MBNF Non-Debtor Entities'               0.20                   115.00
                     counsel regarding production of documents
                     and missing board meeting minutes.
                     Analyze issues regarding MBNF Non-Debtor                  0.30                   172.50
                     Entities' production of documents and missing
                     board meeting minutes.
                     Analyze issues regarding status of productions            0.30                   172.50
                     and due date for privilege log.
07/30/20   CJF       Prepare e-mails to and review e-mail from M.              0.20                   115.00
                     Minuti regarding status of document
                     production and status of stipulation governing
                     production of documents.
                     Analyze issues regarding document review.                 1.20                   690.00
07/31/20   CJF       Analyze issues regarding second level quality             1.20                   690.00
                     control review and searches concerning same.
07/01/20   CK        Review document production and analyze                    0.50                   325.00
                     potential claims and causes of action.
                     Review document production and analyze                    2.20                 1,430.00
                     potential claims and causes of action.
                     Review document production and analyze                    0.80                   520.00
                     potential claims and causes of action.
                     Review document production and analyze                    1.50                   975.00
                     potential claims and causes of action.
07/02/20   CK        Review document production and analyze                    0.50                   325.00
                     potential claims and causes of action.
                     Review document production and analyze                    1.50                   975.00
                     potential claims and causes of action.
                     Review document production and analyze                    0.70                   455.00
                     potential claims and causes of action.
                     Review document production and analyze                    1.20                   780.00
                     potential claims and causes of action.
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DATE       ATTY      DESCRIPTION                                           HOURS                  AMOUNT

                     Review document production and analyze                  2.30                 1,495.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.80                 1,170.00
                     potential claims and causes of action.
07/03/20   CK        Review document production and analyze                  0.70                   455.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.10                   715.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.20                   780.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.90                 1,235.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.70                 1,105.00
                     potential claims and causes of action.
07/08/20   CK        Review document production and analyze                  1.30                   845.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.80                 1,170.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.70                 1,105.00
                     potential claims and causes of action.
07/09/20   CK        Review document production and analyze                  1.70                 1,105.00
                     potential claims and causes of action.
                     Review document production and analyze                  0.90                   585.00
                     potential claims and causes of action.
07/10/20   CK        Review document production and analyze                  1.40                   910.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.80                 1,170.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.20                   780.00
                     potential claims and causes of action.
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DATE       ATTY      DESCRIPTION                                           HOURS                  AMOUNT

                     Review document production and analyze                  1.70                 1,105.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.30                   845.00
                     potential claims and causes of action.
07/11/20   CK        Review document production and analyze                  0.60                   390.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.40                   910.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.70                 1,105.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.50                   975.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.10                   715.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.30                   845.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.40                   910.00
                     potential claims and causes of action.
07/12/20   CK        Review document production and analyze                  2.20                 1,430.00
                     potential claims and causes of action.
                     Review document production and analyze                  0.80                   520.00
                     potential claims and causes of action.
                     Review document production and analyze                  0.90                   585.00
                     potential claims and causes of action.
                     Review document production and analyze                  1.00                   650.00
                     potential claims and causes of action.
                     Review document production and analyze                  2.10                 1,365.00
                     potential claims and causes of action.
07/13/20   CK        Review document production and analyze                  0.60                   390.00
                     potential claims and causes of action.
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DATE       ATTY      DESCRIPTION                                            HOURS                  AMOUNT

07/14/20   CK        Review document production and analyze                   2.40                 1,560.00
                     potential claims and causes of action.
                     Review document production and analyze                   2.10                 1,365.00
                     potential claims and causes of action.
                     Review document production and analyze                   1.10                   715.00
                     potential claims and causes of action.
07/15/20   CK        Review document production and analyze                   0.80                   520.00
                     potential claims and causes of action.
07/16/20   CK        Review document production and analyze                   1.50                   975.00
                     potential claims and causes of action.
                     Review document production and analyze                   0.70                   455.00
                     potential claims and causes of action.
                     Review document production and analyze                   1.10                   715.00
                     potential claims and causes of action.
                     Review document production and analyze                   1.30                   845.00
                     potential claims and causes of action.
                     Review document production and analyze                   1.40                   910.00
                     potential claims and causes of action.
07/17/20   CK        Review document production and analyze                   1.50                   975.00
                     potential claims and causes of action.
                     Review document production and analyze                   1.20                   780.00
                     potential claims and causes of action.
                     Team meeting with R. Brennan et al. regarding            0.70                   455.00
                     interim results of document production review.
07/19/20   CK        Review document production and analyze                   1.20                   780.00
                     potential claims and causes of action.
                     Review document production and analyze                   1.30                   845.00
                     potential claims and causes of action.
                     Review document production and analyze                   1.50                   975.00
                     potential claims and causes of action.
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DATE       ATTY      DESCRIPTION                                            HOURS                  AMOUNT

                     Review document production and analyze                   2.80                 1,820.00
                     potential claims and causes of action.
07/20/20   CK        Confer with R. Brennan regarding document                0.20                   130.00
                     production findings.
                     Review document production and analyze                   1.90                 1,235.00
                     potential causes of action.
                     Further review of document production and                1.60                 1,040.00
                     analysis of potential causes of action.
07/21/20   CK        Review document production and analyze                   1.50                   975.00
                     potential causes of action.
                     Further review of document production and                2.50                 1,625.00
                     analysis of potential causes of action.
                     Continue to review document production and               2.10                 1,365.00
                     analyze potential causes of action.
                     Additional review and analysis of document               1.90                 1,235.00
                     production.
07/22/20   CK        Review document production and analyze                   2.70                 1,755.00
                     potential causes of action.
                     Continue to review document production and               1.70                 1,105.00
                     analyze potential causes of action.
07/23/20   CK        Review document production and analyze                   2.70                 1,755.00
                     potential causes of action.
                     Continue to review document production and               2.80                 1,820.00
                     analyze potential causes of action.
07/24/20   CK        Review document production and analyze                   2.30                 1,495.00
                     potential causes of action.
                     Continue to review document production and               2.50                 1,625.00
                     analyze potential causes of action.
                     Additional review of document production and             1.10                   715.00
                     analysis of potential causes of action.
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DATE       ATTY      DESCRIPTION                                            HOURS                  AMOUNT

07/25/20   CK        Review document production and analyze                   1.70                 1,105.00
                     potential causes of action.
07/26/20   CK        Review document production and analyze                   0.70                   455.00
                     potential causes of action.
07/27/20   CK        Review document production and analyze                   2.70                 1,755.00
                     potential causes of action.
                     Continue to review document production and               2.10                 1,365.00
                     analyze potential causes of action.
                     Further review of document production and                2.30                 1,495.00
                     analysis of potential causes of action.
                     Review additional materials from document                2.50                 1,625.00
                     production and analyze potential causes of
                     action.
                     Additional review of document production and             1.40                   910.00
                     analysis of potential causes of action.
07/28/20   CK        Review document production and analyze                   2.80                 1,820.00
                     potential causes of action.
                     Continue to review document production and               2.40                 1,560.00
                     analyze potential causes of action.
07/29/20   CK        Review document production and evaluate                  2.50                 1,625.00
                     potential causes of action.
                     Continue to review document production and               2.40                 1,560.00
                     evaluate potential causes of action.
07/31/20   CK        Review document production and analyze                   2.20                 1,430.00
                     potential causes of action.
                     Further review of document production and                1.90                 1,235.00
                     analysis of potential causes of action.
07/01/20   DGC       Review of Documents.                                     1.30                   773.50
07/02/20   DGC       Review of Documents.                                     2.60                 1,547.00
07/03/20   DGC       Review of documents.                                     1.40                   833.00
07/05/20   DGC       Review of Documents                                      0.70                   416.50
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DATE       ATTY      DESCRIPTION                                             HOURS                  AMOUNT

                     Review of documents.                                      1.30                   773.50
07/06/20   DGC       Review of Documents.                                      2.90                 1,725.50
07/07/20   DGC       Review of Documents.                                      2.30                 1,368.50
07/08/20   DGC       Review of documents.                                      1.10                   654.50
07/14/20   DGC       Review of documents.                                      1.40                   833.00
07/15/20   DGC       Review of documents; telephone conference                 2.90                 1,725.50
                     with R. Brennan regarding review of 2016
                     documents.
07/16/20   DGC       Review of documents.                                      3.10                 1,844.50
07/17/20   DGC       Conference call with document review team.                0.70                   416.50
07/20/20   DGC       Review of documents in connection with the                1.40                   833.00
                     investigation of potential causes of action.
07/21/20   DGC       Review of documents to investigate possible               0.30                   178.50
                     causes of action.
07/22/20   DGC       Review of documents to investigate possible               1.60                   952.00
                     causes of action.
07/23/20   DGC       Review of documents to investigate possible               1.10                   654.50
                     causes of action.
07/27/20   DGC       Review of documents to determine possible                 0.70                   416.50
                     causes of action.
07/28/20   DGC       Review of documents to determine possible                 1.40                   833.00
                     causes of action; telephone conference with R.
                     Brennan regarding same.
07/29/20   DGC       Review of documents to determine potential                1.10                   654.50
                     causes of action.
07/31/20   DGC       Review of documents to determine potential                1.20                   714.00
                     causes of action.
07/01/20   FG        Analyze document production for                           6.30                 1,417.50
                     improvement initiative documents and
                     determining cause of action post bankruptcy in
                     anticipation of possible action.
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DATE       ATTY      DESCRIPTION                                             HOURS                  AMOUNT

07/02/20   FG        Review document production for possible                   4.20                   945.00
                     causes of action post bankruptcy.
07/06/20   FG        Review document production and categorize                 1.80                   405.00
                     billing and collection documents and searching
                     for possible causes of action post bankruptcy.
                     Review documents from production related to               2.20                   495.00
                     viability and under funding and billing and
                     search for possible causes of action for post
                     bankruptcy filing.
07/07/20   FG        Review document production for documents                  3.10                   697.50
                     related to IT issues for possible causes of
                     action post bankruptcy.
07/08/20   FG        Review documents related to billing and                   6.20                 1,395.00
                     collections and seek possible causes of action
                     post bankruptcy.
07/09/20   FG        Analyze document production regarding                     6.90                 1,552.50
                     billing and collections documents and
                     determining cause of action post bankruptcy in
                     anticipation of possible action.
07/10/20   FG        Analyze document production and determining               5.10                 1,147.50
                     cause of action post bankruptcy in anticipation
                     of possible action.
07/13/20   FG        Review document production regarding                      4.30                   967.50
                     possible Philadelphia hospitals acquisition by
                     Drexel University.
07/14/20   FG        Review document production regarding pre                  4.80                 1,080.00
                     January 2018 acquisition financial due
                     diligence.
07/15/20   FG        Review document production regarding                      2.60                   585.00
                     possible causes of action post bankruptcy.
07/16/20   FG        Review document production regarding                      3.90                   877.50
                     possible causes of action post bankruptcy.
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DATE       ATTY      DESCRIPTION                                             HOURS                  AMOUNT

07/20/20   FG        Review and categorize documents in                        4.20                   945.00
                     document production; determine possible
                     causes of action post bankruptcy; conference
                     with R. Brennan regarding board meeting
                     minutes in production.
07/21/20   FG        Review document production to determine                   1.70                   382.50
                     whether there are any cause of action and
                     categorize documents.
07/22/20   FG        Review document production and categorize                 1.60                   360.00
                     same; determine possible causes of action post
                     bankruptcy.
07/23/20   FG        Review document production for possible                   1.30                   292.50
                     causes of action post bankruptcy; categorize
                     documents.
07/24/20   FG        Review document production and categorize                 1.40                   315.00
                     same; search for possible causes of action post
                     bankruptcy.
07/28/20   FG        Review document production and categorize                 6.30                 1,417.50
                     documents; determine possible cause of action
                     post bankruptcy.
07/29/20   FG        Review document production and categorize                 4.60                 1,035.00
                     documents; determine possible cause of action
                     post bankruptcy.
                     Review document production and tag                        1.40                   315.00
                     documents as redacted.
07/30/20   FG        Participate in conference with document                   1.00                   225.00
                     review team for guidance, progress, status and
                     issues borne out of the review thus far.
                     Review document production and categorize                 2.90                   652.50
                     documents; determine possible cause of action
                     post bankruptcy.
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DATE       ATTY      DESCRIPTION                                            HOURS                  AMOUNT

07/31/20   FG        Review documents in production for possible              2.30                   517.50
                     causes of action post bankruptcy.
                     Review internal memorandum and                           1.10                   247.50
                     organizational chart to confirm entity roles
                     after conference with review team.
07/01/20   MPC       Review documents to research potential                   1.10                   467.50
                     claims.
07/02/20   MPC       Review documents to research potential                   0.40                   170.00
                     claims.
07/04/20   MPC       Review documents to investigate potential                3.60                 1,530.00
                     claims.
07/05/20   MPC       Review documents to investigate potential                3.10                 1,317.50
                     claims.
07/12/20   MPC       Review documents for potential claims.                   2.70                 1,147.50
07/14/20   MPC       Review documents for potential claims.                   5.20                 2,210.00
07/15/20   MPC       Review documents to research potential                   0.40                   170.00
                     claims.
07/16/20   MPC       Review documents to research potential                   2.90                 1,232.50
                     claims.
07/17/20   MPC       Call with team regarding the review for                  0.50                   212.50
                     documents to investigate claims.
07/23/20   MPC       Review documents to research potential                   3.30                 1,402.50
                     claims.
07/29/20   MPC       Review documents for potential claims.                   3.10                 1,317.50
07/02/20   REB       Review MBNF document production.                         4.60                 2,737.00
07/06/20   REB       Call with review team re: document review                1.30                   773.50
                     next-steps.
                     Call with B. Coven re: document review.                  0.60                   357.00
                     Call with B. Coven re: document production.              1.60                   952.00
                     Review documents in MBNF production in                   4.30                 2,558.50
                     connection with investigation.
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07/07/20   REB       Call with C. Falletta and B. Mankovetskiy re:              0.50                   297.50
                     document review in connection with
                     investigation.
07/08/20   REB       Call with B. Coven re: investigation update.               0.80                   476.00
                     Review documents in MBNF production re:                    4.10                 2,439.50
                     possible causes of action and update memo re:
                     same.
07/10/20   REB       Review documents from B. Coven and F.                      0.60                   357.00
                     Gonzalez re: MBNF production.
07/14/20   REB       Review MBNF production and review and                      4.20                 2,499.00
                     update memo re: same.
07/15/20   REB       Call with C. Falletta re: investigation of certain         0.30                   178.50
                     causes of action.
                     Review and synthesize information from                     2.70                 1,606.50
                     documents in connection with investigation of
                     causes of action.
07/16/20   REB       Review and synthesize information from                     3.40                 2,023.00
                     documents in connection with investigation of
                     causes of action.
                     Update memo re: causes of action and                       1.10                   654.50
                     investigation overview.
07/17/20   REB       Call with B. Coven re: investigation updates.              0.60                   357.00
                     Call with review team re: investigation                    0.80                   476.00
                     updates.
                     Email B. Coven re: investigation updates and               0.80                   476.00
                     highlights.
                     Review documents in connection with                        1.60                   952.00
                     investigation of possible causes of action.
07/20/20   REB       Follow up calls with review team regarding                 0.60                   357.00
                     investigation of potential causes of action.
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DATE       ATTY      DESCRIPTION                                             HOURS                  AMOUNT

07/21/20   REB       Review and revise discovery stipulation with              1.60                   952.00
                     Debtors.
07/28/20   REB       Discuss CCH production with review team and               0.70                   416.50
                     implement changes in review panel regarding
                     new searches.
07/29/20   REB       Call with C. Falletta re: MBNF production and             0.30                   178.50
                     follow up issues.
                     Draft email re: MBNF production and follow                0.40                   238.00
                     up issues.
07/30/20   REB       Call with review team re: investigation updates           1.10                   654.50
                     and analysis of causes of action.
07/31/20   REB       Call with B. Coven re: investigation update               0.90                   535.50
                     and strategy and follow up re: same.

                       TASK TOTAL 101                                        392.10                216,870.00


103 - BUSINESS OPERATIONS
07/15/20 BM       Attend to issues regarding analysis of                       0.90                   675.00
                  intercompany transfers.

                       TASK TOTAL 103                                          0.90                   675.00


104 - CASE ADMINISTRATION
07/17/20 BM       Call with BRG regarding pending matters.                     0.40                   300.00
07/17/20 FG       Participate in conference with document                      0.70                   157.50
                  review team and R. Brennan regarding overall
                  picture emerging from document review and
                  upcoming events.
07/28/20 GAK      Update case calendar.                                        0.10                    55.00
07/30/20 GAK      Update case calendar.                                        0.10                    55.00
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DATE       ATTY      DESCRIPTION                                            HOURS                  AMOUNT

07/16/20   REB       Attend Committee call re: update from July               0.80                   476.00
                     15th hearing and case updates.

                       TASK TOTAL 104                                         2.10                  1,043.50


105 - CLAIMS ADMINISTRATION AND OBJECTIONS
07/02/20 AHS     Call with counsel for Debtors and address                    0.30                   247.50
                 document production issues.
07/17/20 AHS     Call with BRG re: investigation issues.                      0.40                   330.00
07/15/20 BM      Analysis regarding Debtors' real estate leasing              1.20                   900.00
                 structure and potential claims arising
                 therefrom.
07/21/20 BM      Attend to Debtors' stipulation with PASNAP                   0.30                   225.00
                 regarding proofs of claims.
07/28/20 BM      Analysis regarding potential objections and                  1.10                   825.00
                 counterclaims with respect to Master
                 Landlords' asserted claims.

                       TASK TOTAL 105                                         3.30                  2,527.50


107 - FEE/EMPLOYMENT APPLICATIONS
07/31/20 GAK     Attention to fee application issues.                         0.40                   220.00

                       TASK TOTAL 107                                         0.40                   220.00


108 - FEE/EMPLOYMENT OBJECTIONS
07/17/20 GAK     Review Debtors' OCP's fee statements.                        0.10                    55.00
07/21/20 GAK     Review Eisner fee statement                                  0.10                    55.00

                       TASK TOTAL 108                                         0.20                   110.00
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DATE      ATTY       DESCRIPTION                                            HOURS                  AMOUNT


113 - PLAN AND DISCLOSURE STATEMENT
07/09/20 GAK      Analysis of order extending the Debtors'                    0.10                    55.00
                  exclusivity deadlines under section 1121 of the
                  Bankruptcy Code.

                       TASK TOTAL 113                                          .10                    55.00



                       TOTAL FEES                                           399.10              $221,501.00

                       Attorney Fees at Blended Rate of $625                317.20              $198,250.00
                       Paralegal Fees at Standard Rate                       81.90                18,427.50

                       TOTAL FEES                                           399.10              $216,677.50

TASK CODE SUMMARY

          101        Asset Analysis and Recovery                            392.10               216,870.00
          103        Business Operations                                      0.90                   675.00
          104        Case Administration                                      2.10                 1,043.50
          105        Claims Administration and Objections                     3.30                 2,527.50
          107        Fee/Employment Applications                              0.40                   220.00
          108        Fee/Employment Objections                                0.20                   110.00
          113        Plan and Disclosure Statement                             .10                    55.00
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DATE   ATTY      DESCRIPTION                                            HOURS                   AMOUNT

                  TOTAL FEES                                            399.10               $221,501.00

                  Attorney Fees at Blended Rate of $625                 317.20               $198,250.00
                  Paralegal Fees at Standard Rate                        81.90                 18,427.50

                  TOTAL FEES                                            399.10               $216,677.50

FEE RECAP
        AHS      Andrew H. Sherman                                        1.20        $825        990.00
        BM       Boris Mankovetskiy                                      19.00        $750     14,250.00
        BSC      Brian S. Coven                                          56.90        $750     42,675.00
        CK       Clint Kakstys                                          128.70        $650     83,655.00
        CJF      Charles J. Falletta                                     13.40        $575      7,705.00
        DGC      David G. Cherna                                         30.50        $595     18,147.50
        REB      Rachel E. Brennan                                       40.30        $595     23,978.50
        GAK      Gregory A. Kopacz                                        0.90        $550        495.00
        MPC      Matthew P. Canini                                       26.30        $425     11,177.50
        FG       Frank Gonzalez (paralegal)                              81.90        $225     18,427.50
                  TOTAL FEES                                            399.10               $221,501.00

                  Attorney Fees at Blended Rate of $625                 317.20               $198,250.00
                  Paralegal Fees at Standard Rate                        81.90                 18,427.50

                  TOTAL FEES                                            399.10               $216,677.50
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DATE      ATTY      DESCRIPTION                                             HOURS                       AMOUNT

DISBURSEMENT DETAIL
07/26/20 CJF   Litigation Support Vendors (UnitedLex – project management,                              3,458.44
               technical time and hosting)
                     TOTAL DISBURSEMENTS                                                               $3,458.44

DISBURSEMENT RECAP

                    Litigation Support Vendors (UnitedLex)                                              3,458.44
                     TOTAL DISBURSEMENTS                                                               $3,458.44

                     TOTAL THIS INVOICE                                                              $220,135.94*



                                                       *Total includes fees at Blended Rate. Per Retention
                                                       Application, lesser of fees at Standard Rates ($221,501.00)
                                                       and fees at Blended Rate of $625 ($216,677.50)** apply.

                                                       **includes paralegal fees at standard rates
